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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION


  UMG RECORDINGS, INC.; CAPITAL
  RECORDS, LLC; WARNER BROS.
  RECORDS INC.; ATLANTIC RECORDING                                   Case No.
  CORPORATION; ELEKTRA                                       1:18-CV-00957-CMH-TCB
  ENTERTAINMENT GROUP, INC.;
  FUELED BY RAMEN, LLC; NONESUCH
  RECORDS INC.; SONY MUSIC
  ENTERTAINMENT; SONY MUSIC
  ENTERTAINMENT US LATIN LLC;
  ARISTA RECORDS LLC; LAFACE
  RECORDS LLC; and ZOMBA RECORDING
  LLC,

       Plaintiffs,

  v.

  TOFIG KURBANOV d/b/a FLVTO.BIZ and
  2CONV.COM;
  And DOES 1-10,

       Defendants.


   DEFENDANT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
             OR, IN THE ALTERNATIVE TO TRANSFER TO THE
                   CENTRAL DISTRICT OF CALIFORNIA

          Plaintiffs – a collection of record companies, none of which are located within Virginia –

 appear to be having something of an identity crisis. They are not, as they seem to believe,

 YouTube.com, despite basing much of their jurisdictional argument on alleged misuse of that

 website’s platform by a small minority of Defendant’s users. Nor are they quite as prevalent on

 Youtube.com as they seem to believe – at least not according to YouTube’s own statistics which

 suggest that all music-related videos (both those owned by Plaintiffs and all of the rest of the




                                                   1
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 music in the world) – comprise only 2.5% of all of that site’s streaming traffic. 1 Nor are

 Plaintiffs the users of Defendant’s Websites, despite Plaintiffs’ attempts to invoke as

 jurisdictionally relevant those Websites’ Terms of Use. Plaintiffs are also not their attorneys –

 despite the argument contained in their Opposition – that this Court should find personal

 jurisdiction in Virginia because it’s such an easy drive for Plaintiffs’ counsel from their offices in

 Washington, D.C.2 Adding to this sense of confusion, Plaintiffs seem to have a touch of

 amnesia, forgetting that they brought a near-identical lawsuit two years ago in the Central

 District of California where they argued that jurisdiction was proper in part because, they

 alleged, that was “where several Plaintiffs are located and/or maintain substantial business

 operations.” See Complaint, UMG Recordings, Inc. v. PMD Technologie UG, Case No. 2:16-cv-

 07210 (C.D. Cal.), attached hereto as Exhibit 1.

        Plaintiffs’ confusion is not limited to its own identity: they also appear confused about

 the type of action they have brought, citing at times cases that are clearly only applicable to

 jurisdictional questions in very specific types of in rem cases. And at least one of the advertising

 brokers that Plaintiffs believe Defendant engaged with in the United States, was actually founded

 in the Ukraine, where it continues to maintain the office with whom the Defendant dealt

 exclusively, communicating entirely in Russian. And, finally, Plaintiffs appear to confuse the

 importance of the number of contacts users have with a website with the number of

 jurisdictionally relevant contacts.




 1
   See “YouTube Says Just 2.5% Of Its Traffic Is Music-Related,” Digital Music News
 https://www.digitalmusicnews.com/2016/04/29/youtube-says-just-2-5-of-its-traffic-is-music-
 related (April 29, 2016)
 2
   For the record, the undersigned quite like Plaintiffs’ counsel and consider them to be some of
 the best copyright lawyers in the country, despite their being mistaken in their jurisdictional
 arguments here.
                                                    2
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         In the course of this Reply, Defendant hopes to clear up some of this confusion.

                                               Argument

 I.      Plaintiffs’ Arguments do not Establish Jurisdiction Either in Virginia or the United
         States as a Whole.

         A.      Plaintiffs are not YouTube3

         From reading both Plaintiffs’ Complaint and their Opposition, one might be tempted to

 believe that YouTube is a named plaintiff. It is not. This being the case, Plaintiffs’ complaints

 that Defendant’s Websites allegedly violate YouTube’s terms of service not only ring hollow but

 also add nothing to the jurisdictional analysis. Plaintiffs’ continued insistence that YouTube is a

 “prominent United States business” is also jurisdictionally irrelevant. Although Plaintiffs try to

 allege that Defendant’s Websites are aimed at YouTube (in general), such an allegation would

 only be jurisdictionally relevant (if at all) in circumstances not present here. First, as noted,

 YouTube is not itself a Plaintiff and so (to the extent that the Plaintiffs’ location figures into the

 jurisdictional analysis at all), the fact that YouTube is located in the United States is simply

 immaterial here. Indeed, the fact that Plaintiffs are not YouTube is particularly poignant given

 that YouTube does not see itself as provincially as Plaintiffs do. According to YouTube itself,

 the website has local versions in more than 88 countries; is available in 76 different languages;

 and fewer than 17% of its visitors come from the United States, all of which cuts against

 Plaintiffs’ argument that a service that focuses on YouTube.com users is somehow specifically




 3
  It is more than a little ironic that Plaintiffs, in essence, cast themselves as YouTube’s white
 knights given that the recording industry has long been at war with YouTube over what it
 believes is YouTube’s refusal to properly compensate them for use of their songs, something
 YouTube denies. See, e.g., “Here's why the music labels are furious at YouTube. Again.”
 ReCode, https://www.recode.net/2016/4/11/11586030/youtube-google-dmca-riaa-cary-sherman
 (Apr. 11, 216); “Setting the Record Straight,” YouTube Creator Blog, https://youtube-
 creators.googleblog.com/2016/04/setting-record-straight.html (April 28, 2016).
                                                    3
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 targeted at the United States.

         Further undercutting Plaintiffs’ arguments is their own over-estimation of their

 importance on the YouTube platform. According to YouTube, music related videos account for

 only 2.5% of all of YouTube’s traffic. Supra, fn. 1. This, of course, doesn’t mean that 2.5% of

 YouTube’s traffic involves Plaintiffs’ music, but rather music as a whole, whether it be

 copyrighted, subject to a Creative Commons license, or freely offered to the public without

 restriction, constitutes 2.5% of YouTube’s traffic. And, of course, given YouTube’s

 international reach, much of that music is itself likely from outside the United States and thus not

 owned by Plaintiffs.

         All of this is important, to the extent that Plaintiffs’ YouTube arguments are actually

 relevant, because the only contacts that are jurisdictionally relevant at all are those that give rise

 to Plaintiffs’ cause of action. In reality, however, although the discussion of YouTube’s

 international statistics is certainly interesting, it is not actually relevant to the jurisdictional

 analysis because it focuses not on the Defendant’s connection to the United States, as it must, but

 instead on the materials that the Websites’ users choose to download. Jurisdiction is not decided

 based on the fortuitous decisions of third-parties not under the Defendant’s control.

         Finally, the Court should reject Plaintiffs’ attempted sleight-of-hand in suggesting that

 the alleged “place of injury” is the United States because YouTube is (in part) located within the

 United States. Even if Plaintiffs could somehow stand in YouTube’s shoes and thereby claim

 that “they” suffered some injury in the United States by virtue of conduct “aimed” at YouTube,

 this would still be an insufficient basis for jurisdiction in the United States without additional

 proof that the Defendant himself had sufficient minimum contacts with the United States to

 support such a finding of jurisdiction. See Consulting Eng'rs Corp. v. Geometric Ltd., 561 F.3d



                                                      4
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 273, 280-81 (4th Cir. 2009) (“‘[A]lthough the place the plaintiff feels the alleged injury is plainly

 relevant to the [jurisdictional] inquiry, it must ultimately be accompanied by the defendant's own

 contacts with the state if jurisdiction over the defendant is to be upheld.’” (quoting ESAB Group,

 Inc. v. Centribut, Inc., 126 F.3d 617, 626 (4th Cir. 1997))); Carefirst of Md., Inc. v. Carefirst

 Pregnancy Ctrs., Inc., 334 F.3d 390, 401 (4th Cir. 2003) (same).

         B.      The Terms of Use for Defendant’s Websites are Irrelevant to the Court’s
                 Jurisdictional Inquiry.

         Plaintiffs also attempt to make much of the Terms of Use of Defendant’s Websites to

 support their proposition that the Defendant has subjected himself to jurisdiction in Virginia

 and/or the United States. Here, again, Plaintiffs are mistaken. Even if Plaintiffs were entitled to

 take advantage of the Websites’ Terms of Use, despite the fact that Plaintiffs are not themselves

 parties to the Terms or intended third-party beneficiaries, Plaintiffs simply read too much into

 little and ignore everything surrounding the words they actually like. First (if the Terms were

 actually relevant), Plaintiffs have neglected to note that the Terms specifically call for the

 application of “the laws of THE RUSSIAN FEDERATION without regard to conflict of law

 provisions.” Docket No. 28-1, Section 14(a) (capitalization in original.) Next, the provision

 notes that:

         FOR ANY CLAIM BROUGHT BY YOU AGAINST US, YOU AGREE TO
         SUBMIT AND CONSENT TO THE PERSONAL AND EXCLUSIVE
         JURISDICTION IN, AND THE EXCLUSIVE VENUE OF THE COURTS IN
         THE RUSSIAN FEDERATION.

 Id. (capitalization in original).

         This is, of course, directly contrary to Plaintiffs’ supposition that the Defendant has

 intentionally subjected himself to the jurisdiction of Virginia and/or the United States. Plaintiffs,

 however, rely on the next sentence of the agreement that provides that, for claims brought by



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 Defendant Websites that such claims may be brought either in the Russian Federation or

 wherever the user may be found. Id. Such a provision, of course, is not only common sense but

 fully consistent with Defendant’s position here because it simply preserves the option for the

 Defendant Websites to bring an action wherever a user may be found, recognizing that there may

 not be minimum contacts to sue a user of the website in the Russian Federation. Moreover

 (again if any of this were actually relevant), it is not what right Defendant has claimed to reserve

 for itself that is actually relevant here, but whether the Defendant has actually acted in a way that

 is consistent with an exercise of personal jurisdiction. And, despite this provision in the Terms

 of Service, Defendant has never sued anyone under those Terms in Virginia, the United States, or

 anywhere else for that matter. See Reply Declaration of Tofig Kurbanov, filed herewith, ¶ 3.

        C.      The Location of Plaintiffs’ Lobbying Group and Lawyers Is Immaterial

        Plaintiffs also argue, somewhat surprisingly, that this case should proceed in Virginia

 because the location is close to Plaintiffs’ lobbying group and counsel of choice. First, if this

 consideration was even valid – which it is not – it would counsel in favor of Plaintiffs if they

 brought the present action in the D.C. District Court, where both Plaintiffs’ counsel and the

 RIAA are located. But, of course, that would not have given Plaintiffs what they really seek

 here, namely to utilize the Court’s infamous “rocket docket” despite any legitimate connections

 to the forum.4 As this Court has noted “many times over, ‘[t]his Court cannot stand as a willing

 repository for cases which have no real nexus to this district.’ ... The ‘rocket docket’ certainly




 4
   Plaintiffs’ forum shopping has not gone unnoticed in the press. See, e.g., “Sony Music, UMG,
 and WMG Forcefully Respond to FLVTO.biz’s Motion to Dismiss,” Digital Music News,
 https://www.digitalmusicnews.com/2018/10/19/major-label-flvto-biz/ (October 19, 2018)
 (“More likely, Jenner and the RIAA chose Virginia hoping for an easier panel of judges,
 especially if FLVTO’s operators declined to respond. That strategy of ‘forum shopping’ works
 well with a no-show, but is more difficult to justify if the defendant actually responds.”).
                                                   6
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 attracts plaintiffs, but the Court must ensure that this attraction does not dull the ability of the

 Court to continue to act in an expeditious manner.... In other words, this Court should not allow

 itself to be overrun by a horde of Visigoths who simply want quick results.” Intercarrier

 Communs., LLC v. Glympse, Inc., 2013 U.S. Dist. LEXIS 113572, at *17 (E.D. Va. Aug. 12,

 2013). Plaintiffs in this case – all who hail from outside Virginia and who are suing an

 individual in Russia – are precisely the invading horde of which this Court has been wary.

         D.      Plaintiffs’ Argument that Defendant is Subject to Jurisdiction in Virginia Simply
                 by Virtue of Having Registered .biz and .com Domain Names is the Height of
                 Absurdity.

         Because the Court will be tempted to believe that Plaintiffs are simply making a silly

 argument – as opposed to a patently absurd one – Plaintiffs’ actual argument needs to be

 articulated. Plaintiffs are not simply arguing that Mr. Kurbanov should be subject to jurisdiction

 in Virginia because he registered his domain names with Verisign, Inc. or Neustar, Inc. (each of

 which is located within the Commonwealth. That would be a silly argument. See, e.g.,

 Proprietors of Strata Plan No. 36 v. Coral Gardens Resort Mgmt., Ltd., 2009 U.S. Dist. LEXIS

 97704, at *15 (E.D. Va. Oct. 16, 2009) (“Finally, as to the registration of the domain name in

 Virginia, the court noted ‘mere registration of the domain name with a company located in

 Virginia does not support personal jurisdiction in this state.’”); Graduate Mgmt. Admission

 Council v. Raju, 241 F. Supp. 2d 589, 595 (E.D. Va. 2003) (“First, mere registration of the

 domain name with a company located in Virginia does not support personal jurisdiction in this

 state.”); Am. Online, Inc. v. Huang, 106 F. Supp. 2d 848, 858 (E.D. Va. 2000) (“Even assuming

 that a domain name registration is a ‘thing’ that may be located in Virginia, it is nonetheless a

 relatively minor portion of the Internet’s architecture, and a minuscule presence in this

 Commonwealth; in terms of physical or electronic presence, it is merely a reference point in a



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 computer database.”); EZScreenPrint LLC v. SmallDog Prints LLC, 2018 U.S. Dist. LEXIS

 131611, at *8 (D. Ariz. Aug. 6, 2018) (“Moreover, the Court is cognizant of the fact that

 Defendants’ domain name is registered with GoDaddy, an Arizona corporation. GoDaddy is

 apparently the largest domain registrar in the world and maintains over 50 million domain names

 worldwide, as of 2013.... The argument Plaintiff advances could allow millions of companies

 with domain names registered through GoDaddy to be subject to general personal jurisdiction in

 the state of Arizona.”).

        That, as noted, would have been the silly argument. Plaintiffs here instead argue that –

 even though Defendant’s Websites were registered through Arizona registrar GoDaddy.com –

 jurisdiction is proper in Virginia because Verisign, Inc. oversees the entire top-level .com

 domain and Neustar, Inc. oversees the entire top-level .biz domain. Currently, there are 137.9

 million registered .com domains and an additional 2.25 million .biz domains. See Domain

 Count Statistics for TLDs, DomainTools, http://research.domaintools.com/statistics/tld-counts/

 (last accessed October 22, 2018). Under Plaintiffs’ theory, every owner of each of those 140+

 million domains are subject to personal jurisdiction in Virginia.

        Even the two cases cited by Plaintiffs for this absurd argument do not stand for this

 proposition. See America Online, Inc. v. AOL.org, 259 F. Supp. 2d 449 (E.D. Va. 2003);

 Citigroup, Inc. v. Malik, 2009 U.S. Dist. LEXIS 25919 (E.D. Va. Mar. 24, 2009). Preliminarily,

 each of these two cases actually involved defendants that had registered their domain names

 through Virginia registrars (and not simply registered top level domains “overseen” by

 companies within the state). And, each of these two cases involved default judgments, where the

 Plaintiffs had sought in rem relief pursuant to the Anti-Cybersquatting Consumer Protection Act

 (“ACPA”). In other words, because the registration of the domain name was the actual wrong



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 being complained of under the ACPA and because the relief sought would require the registrar’s

 cooperation in transferring the offending domain name, jurisdiction was proper where the

 domain itself was registered. Nothing about this is surprising, other than Plaintiffs’ belief that

 these two cases are somehow even remotely applicable here.

        E.      Plaintiffs’ Misplaced Focus on the (Inaccurate and Unsubstantiated) Number of
                Visitors to the Websites.

        Whereas Defendant provided the Court with actual statistics showing the number of

 visitors to the Websites, Plaintiff offers the Court unverified and inaccurate statistics from a

 website called SimilarWeb.com, that (by its own admission) provides users with “estimates” of

 the number of visitors to a website.5 Even if this were not the case, however, Plaintiffs’

 obsession simply with numbers of visitors to the Defendant Websites is misplaced. Numerous

 other federal courts have, in similar situations, rejected the argument that a foreign defendant

 may be subject to personal jurisdiction in the United States based simply on a website that

 garners significant traffic from the United States. See, e.g., Liberty Media Holdings, LLC v.

 Letyagin, et al., Civil No. 11-62107-CV-Williams (S.D. Fla. Dec. 14, 2011) (“Plaintiff contends

 that Defendant has ‘considerable’ web traffic originating from the United States and has

 presented an exhibit showing that fifteen percent of the visitors to the website are from the

 United States. Precedent, however, establishes that maintaining a website accessible to users in a

 jurisdiction does not subject a defendant to be sued there: those users must be directly targeted,

 such that the defendant can foresee having to defend a lawsuit....” (and cases cited therein));

 Fraserside IP L.L.C. v. Hammy Media, LTD, 2012 U.S. Dist. LEXIS 5359 (N.D. Iowa Jan. 17,



 5
  See https://www.similarweb.com/corp/developer/estimated_visits_api (last accessed October
 22, 2018) (“The Total Traffic API allows you to input a domain and receive the Estimated
 Number of Visits for the domain on a daily, weekly, or monthly basis for desktop and mobile
 users.”).
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 2012) (rejecting personal jurisdiction despite allegations that “xHamster's website

 www.xHamster.com is visited daily by over 1,500,000 internet users worldwide with roughly 20

 percent of the site's visitors being from the United States”); Fraserside IP, L.L.C. v. Youngtek

 Solutions, Ltd., 2013 U.S. Dist. LEXIS 3779 (N.D. Iowa Jan. 10, 2013) (allegations that “17 to

 20 percent of visitors to Youngtek's websites are U.S. citizens”); Fraserside IP L.L.C. v.

 Netvertising Ltd., 2012 U.S. Dist. LEXIS 180949 (N.D. Iowa Dec. 21, 2012) (allegations that

 “16.7% percent of HardSexTube's website's daily visitors are from the United States”);

 Fraserside IP L.L.C. v. Letyagin, 885 F. Supp. 2d 906 (N.D. Iowa 2012) (allegations that

 “eighteen percent of SunPorno's website's 2,500,000 daily visitors are from the United States);

 Fraserside IP L.L.C. v. Youngtek Solutions Ltd., 2012 U.S. Dist. LEXIS 98041 (N.D. Iowa July

 16, 2012) (allegations that “the EmpFlix.com website is allegedly visited daily by over 1,500,000

 internet users worldwide with approximately 16.9 percent of the site's visitors coming from the

 United States. The TNAFlix.com website is allegedly visited daily by over 3,000,000 internet

 users worldwide with approximately 21.5 percent of the site's visitors coming from the United

 States.”).

         In focusing solely on the number of viewers that Defendant’s Websites draw from the

 United States – Plaintiffs incorrectly elevate the importance of non-claim related contacts with

 the United States. On this front, the Supreme Court’s recent decision in Bristol-Myers Squibb

 Co. v. Superior Court, 137 S. Ct. 1773 (2017) is particularly instructive. In Bristol-Myers, “more

 than 600 plaintiffs, most of whom are not California residents, filed [a] civil action in a

 California state court against Bristol-Myers Squibb Company (BMS), asserting a variety of state-

 law claims based on injuries allegedly caused by a BMS drug called Plavix.” Id. at 1777.




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        Although Bristol-Myers “engages in business activities in California and sells Plavix

 there,” the Supreme Court nonetheless found that the California courts could not exercise

 personal jurisdiction over the claims brought by non-California residents. The Court reached this

 conclusion despite the fact that “five of the company’s research and laboratory facilities, which

 employ a total of around 160 employees, are located” in California and the company “employs

 about 250 sales representatives in California and maintains a small state-government advocacy

 office in Sacramento.” Id. at 1778. Indeed, the Supreme Court noted that “BMS does sell Plavix

 in California. Between 2006 and 2012, it sold almost 187 million Plavix pills in the State and

 took in more than $900 million from those sales.” Id. at 1778 (emphasis added).

        Nevertheless, the Supreme Court rejected the argument that these contacts should be

 considered for specific jurisdiction purposes because the contacts did not relate directly to the

 claims brought by the non-resident plaintiffs:

        Settled principles of specific jurisdiction control this case. For a court to exercise
        specific jurisdiction over a claim there must be an affiliation between the forum and
        the underlying controversy, principally, [an] activity or an occurrence that takes
        place in the forum State.... When no such connection exists, specific jurisdiction is
        lacking regardless of the extent of a defendant's unconnected activities in the
        State.... The mere fact that other plaintiffs were prescribed, obtained, and ingested
        Plavix in California does not allow the State to assert specific jurisdiction over the
        nonresidents' claims. Nor is it sufficient (or relevant) that BMS conducted research
        in California on matters unrelated to Plavix. What is needed is a connection
        between the forum and the specific claims at issue.

 Id. at 1776 (internal citations omitted).

        The same holds true here. While Plaintiffs point simply to the raw number of visitors to

 Defendant’s Websites, they do not allege (nor can the allege) how many of those visitors (if any)

 improperly used Defendant’s service to download Plaintiffs’ copyrighted works.




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 II.    If Plaintiffs’ Case is not Dismissed Outright, it Should, in the Alternative, be
        Transferred to the Central District of California.

                A.      The Foreign Plaintiffs’ Choice of Jurisdiction is not Entitled to Substantial
                        Deference.

        Plaintiffs first choose to ignore the relevant caselaw holding that a non-forum plaintiff’s

 choice of forum is not entitled to substantial weight, 6 to suggest again that Virginia has

 substantial ties to this matter by virtue of Verisign and Neustar being located within the

 Commonwealth. The argument is no less incorrect by virtue of its repetition. Plaintiffs are

 blatantly forum shopping and it is an exercise that should receive no deference at all.

                B.      Convenience of the Parties

        Although Plaintiffs attempt to brush aside the Central District of California as being no

 more convenient than Virginia (based on the RIAA and Plaintiffs’ counsel being located not in

 Virginia, but next door in the District of Columbia), it ignores the fact that: (a) three of the

 Plaintiffs are actually headquartered in the Central District of California; (b) YouTube is in the

 Central District of California; (c) Advertise.com (one of the two advertising brokers Plaintiffs

 cite as being relevant) is headquartered in the Central District of California; (d) MGID’s (the

 other advertiser) only United States Office 7 is located in the Central District of California; and




 6
   Orbital Austl. PTY Ltd. v. Daimler AG, 2015 U.S. Dist. LEXIS 86631 at *14 (E.D. Va. July 1,
 2015). See, also, Lycos, Inc. v. TiVo, Inc., 499 F. Supp. 2d 685, 692 (E.D. Va. 2007) (“However,
 the plaintiff’s choice of forum is not entitled to substantial weight if the chosen forum is not the
 plaintiff's ‘home forum,’ and the cause of action bears little or no relation to the chosen forum.”
 (citing Telepharmacy Solutions, Inc. v. Pickpoint Corp., 238 F.Supp.2d 741, 743 (E.D. Va.
 2003))); Koh v. Microtek Int'l, Inc., 250 F. Supp. 2d 627, 635 (E.D. Va. 2003) (“[I]f there is little
 connection between the claims and this judicial district, that would militate against a
 plaintiff’s chosen forum and weigh in favor of transfer to a venue with more substantial
 contacts.”).
 7
   In fairness to Plaintiffs, MGID’s location should be less relevant given that Defendant only
 dealt with MGID’s Ukraine office and never the U.S. Office. See Reply Declaration of Tofig
 Kurbanov, filed herewith, ¶ 2.
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 (e) Plaintiffs have themselves argued that the Central District of California is an appropriate

 location for jurisdiction in a near-identical lawsuit to this one.

                 C.      Access to Sources of Proof

         Although Plaintiffs are correct that written discovery would be conducted primarily

 electronically, to the extent that it is not, it is clear from the above that there are documents and

 evidence in existence in California, while none exist in Virginia.

                 D.      Convenience of Witnesses

         Again, whereas Defendant has identified (above) potential party and third party witnesses

 within California, Plaintiffs have identified none that are located in Virginia. And, while the

 party witnesses could be required to travel to Virginia, the same is not true for the non-party

 witnesses.

                 E.      Interests of Justice

         Finally, Plaintiffs claim as irrelevant: (a) that there are Plaintiffs located in California and

 not in Virginia; (b) that YouTube is located in California and not Virginia; (c) that the

 advertising brokers Plaintiffs believe to be relevant are located in California and not Virginia; (d)

 that more users of Defendant’s Websites are located in California; and (e) Plaintiffs’ own prior

 litigation involving identical claims was brought in California and not Virginia. And, although

 they do not come out and say so, Plaintiffs’ only (apparent) motivation for being in the Eastern

 District of Virginia is to take advantage of the Court’s rocket docket. The Visigoths are indeed

 at the gate.

                                                Conclusion

         For the reasons stated hereinabove and in Defendant’s original Memorandum of Law,

 Defendant respectfully requests that the Court dismiss the Complaint against Mr. Kurbanov



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 individually and d/b/a FLTVO.biz and 2CONV.com in its entirety, or, in the alternative, that the

 case be transferred to the Central District of California.



 Dated: October 22, 2018

 Respectfully Submitted:
  /s/ Jeffrey H. Geiger
  Jeffrey H. Geiger (VSB No. 40163)
  SANDS ANDERSON PC
  1111 E. Main Street, Suite 2400
  Bank of America Plaza
  P.O. Box 1998 (23218)
  Richmond, Virginia 23218-1998
  Telephone: (804) 783-7248
  Facsimile: (804) 783-7291
  jgeiger@sandsanderson.com

  /s/ Valentin Gurvits
  Valentin D. Gurvits (pro hac vice)
  Matthew Shayefar (pro hac vice)
  BOSTON LAW GROUP, PC
  825 Beacon Street, Suite 20
  Newton Centre, Massachusetts 02459
  Telephone: 617-928-1804
  Facsimile: 617-928-1802
  vgurvits@bostonlawgroup.com
  matt@bostonlawgroup.com

  /s/ Evan Fray-Witzer
  Evan Fray-Witzer (pro hac vice)
  CIAMPA FRAY-WITZER, LLP
  20 Park Plaza, Suite 505
  Boston, Massachusetts 02116
  Telephone: 617-426-0000
  Facsimile: 617-423-4855
  Evan@CFWLegal.com

  Attorneys for Defendant




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                                    CERTIFICATE OF SERVICE

        I hereby certify that on this 22nd day of October, 2018, I electronically filed the

 foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification

 of such filing to the following:

        Michael K. Lowman, Esquire
        Jenner & Block LLP
        1099 New York Ave, NW
        Suite 900
        Washington, DC 20001-4412
        Email: mlowman@jenner.com
        Counsel for Plaintiffs

        Kenneth L. Doroshow, Esquire
        Jenner & Block LLP
        1099 New York Avenue, NW
        Suite 900
        Washington, DC 20001-4412
        Email: kdoroshow@jenner.com
        Counsel for Plaintiffs (admitted pro hac vice)

        Alison I. Stein, Esquire
        Jenner & Block LLP
        1099 New York Avenue, NW
        Suite 900
        Washington, DC 20001-4412
        Email: astein@jenner.com
        Counsel for Plaintiffs (admitted pro hac vice)

        Jonathan A. Langlinais, Esquire
        Jenner & Block LLP
        1099 New York Avenue, NW
        Suite 900
        Washington, DC 20001-4412
        Email: jlanglinais@jenner.com
        Counsel for Plaintiffs (admitted pro hac vice)


                                                      /s/ Jeffrey H. Geiger
                                                      Jeffrey H. Geiger




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